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                             IN THE
                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Constellation Mystic Power, LLC,             )
                                             )
                  Petitioner,                )
                                             )
                  v.                         )     No. 24-1077
                                             )
Federal Energy Regulatory Commission,        )
                                             )
                  Respondent.                )


                          PETITION FOR REVIEW

      Constellation Mystic Power, LLC (“Petitioner”) hereby petitions this Court

for review of the following Federal Energy Regulatory Commission orders (copies

of which are attached) under section 313(b) of the Federal Power Act, 16 U.S.C. §

825l(b):

   1. Constellation Mystic Power, LLC, Order Granting In Part and Dismissing In
      Part Formal Challenges Subject to Refund, and Establishing Hearing and
      Settlement Judge Procedures, Docket No. ER18-1639-000, 185 FERC ¶
      61,170 (December 5, 2023) (“2022 Challenge Order”).

   2. Constellation Mystic Power, LLC, Notice of Denial of Rehearing by
      Operation of Law and Providing for Further Consideration, Docket No.
      ER18-1639-028, 186 FERC ¶ 62,048 (February 5, 2024) (“Notice”).

      Petitioner is the rate proponent of a cost-of-service agreement (“Mystic

Agreement”) at issue in the proceedings before the Commission that led to these

orders. The Mystic Agreement is intended to compensate Mystic for its full “cost

                                         1
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of service” (i.e., fixed and going forward costs) in exchange for Mystic remaining

operational for a two-year term and providing fuel security services to the New

England region during that time. The Commission has addressed the Mystic

Agreement through a series of orders, beginning in 2018. In its first order, the

Commission directed Mystic to change the structure of its rate from a “stated” rate

to a formula rate. Under a formula rate, the formula itself is the on file rate, and

the utility updates the inputs to that rate on an annual basis, in Mystic’s case first as

projections and then as trued-up values. The rules for these annual filings are set

forth in formula rate “protocols,” which are included as Schedule 3A to the Mystic

Agreement.

      The orders at issue in this proceeding resulted from the second of Mystic’s

annual filings. The Protocols provide for an opportunity for customers to ask

information requestions and challenge the annual update. One party challenged

historical fixed costs included in Mystic’s 2022 true up filing on various grounds,

and through its challenge sought to lower the rate that Mystic will recover. In its

order, the Commission rightly rejected several of those challenges, but granted four

of the challenges and set those for settlement and hearing. The Commission

granted the first set of challenges using incorrect legal standards. In the second

instance, the Commission purported to grant a formal challenge of and set for




                                           2
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settlement an issue that was resolved through a prior Commission-approved

settlement.

      Mystic sought clarification and limited rehearing based on these issues. On

February 5, 2024, the Commission issued a Notice stating that it had not responded

to the rehearing or clarification motion, and thus it may be deemed denied for

appeal purposes.

Dated: April 3, 2024                         Respectfully submitted,

                                             /s/ Matthew A. Fitzgerald
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                                             Counsel for Constellation Mystic
                                             Power, LLC




                                         3
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                             IN THE
                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Constellation Mystic Power, LLC,             )
                                             )
                   Petitioner,               )
                                             )
                   v.                        )     No. 24-1077
                                             )
Federal Energy Regulatory Commission,        )
                                             )
                   Respondent.               )


   CORPORATE DISCLOSURE STATEMENT OF CONSTELLATION
                  MYSTIC POWER, LLC

      Constellation Mystic Power, LLC (“Mystic”) submits the following

disclosure statement under Rule 26.1 of the Federal Rules of Appellate Procedure

and Circuit Rule 26.1.

      Mystic is a limited liability company. Mystic owns and operates the Mystic

Generating Station, a natural‐gas fired generator operating two units, Mystic 8 and

9, located in Massachusetts. Mystic sells the output of the Mystic Generating

Station into markets under the jurisdiction of the Federal Energy Regulatory

Commission.

      Mystic is a direct, wholly‐owned subsidiary of Constellation Holdings, LLC,

which is a direct, wholly‐owned subsidiary of Constellation Energy Generation,

LLC. Constellation Energy Generation, LLC is a direct, wholly‐owned subsidiary

                                         4
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of Constellation Energy Corporation (“Constellation”).

      Constellation is a publicly traded corporation (stock ticker “CEG”).

Constellation has no parent company. Vanguard holds 10 percent or more of

Constellation’s stock.


                                             /s/ Matthew A. Fitzgerald
                                             Matthew A. Fitzgerald

                                             Counsel for Constellation Mystic
                                             Power, LLC




                                        5
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                              IN THE
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


Constellation Mystic Power, LLC,               )
                                               )
                    Petitioner,                )
                                               )
                    v.                         )      No. 24-1077
                                               )
Federal Energy Regulatory Commission,          )
                                               )
                    Respondent.                )


                          CERTIFICATE OF SERVICE

      Under Rules 15(c) and 25 of the Federal Rules of Appellate Procedure and

Rules 15(a) and 25 of the Circuit rules, I certify that I have this 3rd day of April,

2024, served by email or first-class mail, this Petition for Review on the Office of

the Solicitor General of the Federal Energy Regulatory Commission and the Acting

Secretary of the Commission:

Ms. Debbie-Anne A. Reese                       Mr. Robert H. Solomon
Acting Secretary                               Solicitor
Federal Energy Regulatory                      Federal Energy Regulatory
Commission                                     Commission
888 First Street, NE                           888 First Street, NE
Washington, DC 20426                           Washington, DC 20426

      In addition, I have served all persons on the Commission’s service list in the

underlying proceeding, Docket No. ER18-1639-000, et al., via electronic mail as

shown in the service list attached as Exhibit 3.


                                           6
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                                         /s/ Matthew A. Fitzgerald
                                         Matthew A. Fitzgerald

                                         Counsel for Constellation Mystic
                                         Power, LLC




                                   7
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                     Exhibit 1
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                                      185 FERC ¶ 61,170
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               Allison Clements, and Mark C. Christie.

         Constellation Mystic Power, LLC                               Docket No. ER18-1639-000

              ORDER GRANTING IN PART AND DISMISSING IN PART FORMAL
           CHALLENGES SUBJECT TO REFUND, AND ESTABLISHING HEARING AND
                         SETTLEMENT JUDGE PROCEDURES

                                         (Issued December 5, 2023)

               On September 15, 2022, Constellation Mystic Power, LLC (Mystic) filed,
         pursuant to sections I.B.2 and II.6 of Schedule 3A of the executed cost-of-service
         agreement (Mystic Agreement) among Mystic, Constellation Energy Generation, LLC
         (Constellation), and ISO New England, Inc. (ISO-NE),1 an informational filing
         supporting capital expenditures and related costs that Mystic projects it will collect as an
         expense in 2023 (2023 CapEx Projects).2 Mystic’s filing also updates projections to the
         Annual Fixed Revenue Requirement (AFRR),3 Maximum Monthly Fixed Cost Payment,
         and Fixed O&M/Return on Investment component of the Monthly Fuel Cost Charge, and
         updates net plant to include actual capital expenditures and depreciation for the period
         between January 1, 2018 and December 31, 2021 (Second Informational Filing). On
         October 17, 2022, the New England States Committee on Electricity (NESCOE) filed a

                1
                 See Constellation Mystic Power, LLC, FERC FPA Electric Tariff, Cost of
         Service Agreement, Rate Schedule FERC No. 1 (15.0.0) (Mystic Agreement);
         Constellation Mystic Power, LLC, 165 FERC ¶ 61,267 (2018) (accepting the Mystic
         Agreement) (December 2018 Order).
                2
                 2023 CapEx Projects represent projected capital expenditures during the term of
         the Mystic Agreement in calendar year 2023 that are fully reimbursable. Mystic’s
         projected 2023 CapEx Projects costs are listed in the Second Informational Filing in
         Attachment B, Mystic 8&9 Schedule D in line 27 (Mystic’s 2023 CapEx Projects) and
         Attachment B, Everett Schedule D in line 10 (Everett’s 2023 CapEx Projects) under the
         heading “RMR CapEx.” Support for these costs is included in Attachment A of the
         Second Informational Filing.
                3
               Capitalized terms not otherwise defined herein are as defined in the Mystic
         Agreement.
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         Docket No. ER18-1639-000                                                                 -2-

         formal challenge to the Second Informational Filing, which NESCOE subsequently
         withdrew.4 On October 18, 2022, the Eastern New England Consumer-Owned Systems
         (ENECOS) filed an out-of-time formal challenge to the Second Informational Filing
         (ENECOS Formal Challenge, and together with NESCOE Formal Challenge, Formal
         Challenges).5 As discussed below, we grant in part and dismiss in part ENECOS Formal
         Challenge to the Second Informational Filing, and otherwise set for hearing and
         settlement judge procedures the issues of whether Mystic’s July 1, 2004 – December 31,
         2017 Rate Base, Mystic’s January 1, 2018 – May 31, 2022 Rate Base, Everett’s
         November 1, 2018 – May 31, 2022 Rate Base, and Everett’s 2023 CapEx Projects are
         consistent with the requirements of the Mystic Agreement.

         I.    Background

                 On May 16, 2018, Mystic filed the Mystic Agreement to compensate Mystic on a
         cost-of-service basis under a formula rate for the continued operation of Mystic
         Generation Station Units 8 and 9 (Mystic 8 and 9) from June 1, 2022, through May 31,
         2024. The Mystic Agreement allows Mystic to make cost adjustments computed in
         accordance with the formula without making a new Federal Power Act (FPA) section 205
         filing for each adjustment.6 Schedule 3A of the Mystic Agreement describes the formula
         rate true-up process, which includes a requirement that Mystic submit annual
         informational filings to the Commission by September 15 of each year, beginning in 2021
         (the year prior to the beginning of the term of the Mystic Agreement on June 1, 2022).7
         Generally, each informational filing must include, if applicable, the information that is
         reasonably necessary to determine:

               (1) that input data under the Methodology8 are properly recorded in any
               underlying workpapers;


               4
                See NESCOE August 15, 2023 Notice of Withdrawal; NESCOE October 20,
         2023 Notice of Withdrawal.
               5
                 ENECOS states that it submitted its Formal Challenge to the Commission and
         served parties on October 17, 2022. On October 18, 2022, the Office of the Secretary
         informed ENECOS it needed to resubmit its formal challenge under one submission ID
         number, rather than the two submission ID numbers ENECOS originally used. ENECOS
         resubmitted its Formal Challenge to the Commission on October 18, 2022.
               6
                  December 2018 Order, 165 FERC ¶ 61,267 at P 176 (citing Pub. Utils. Comm’n
         of Cal. v. FERC, 254 F.3d 250, 254 (D.C. Cir. 2001)).
               7
                   Mystic Agreement, Schedule 3A, § II.6.A.
               8
                   The “Methodology” is “the formula rate template [used] . . . to establish the rate
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               (2) that [Mystic] has properly applied the Methodology and these
               procedures;

               (3) the accuracy of data and the consistency with the Methodology of the
               Annual Fixed Revenue Requirement;

               (4) the extent of accounting changes that affect inputs;

               (5) whether a capital expenditure collected as an expense during the Term
               is necessary in order to meet the obligations of the [Mystic] Agreement;
               and

               (6) whether a capital expenditure collected as an expense during the Term
               is reasonably determined to be the least-cost commercially reasonable
               option consistent with Good Utility Practice to meet the obligations of the
               [Mystic] Agreement.9

                 Additionally, each informational filing has its own purpose and requirements that
         differ depending on the year. The Second Informational Filing requires Mystic to:

               file on or before April 1, 2022 . . . appropriate support for the capital
               expenditures and costs that will be collected as an expense during the Term
               in calendar year 2023 (January 1, 2023 to December 31, 2023) as detailed
               below. The Annual Fixed Revenue Requirement, the Maximum Monthly
               Fixed Cost Payment, and the Fixed O & M [Operations and
               Maintenance]/Return on Investment component of the Monthly Fuel Cost
               Charge for the relevant period of the Term in Schedule 3 will be updated in
               accordance with the Methodology and shall exclude true-up of investment
               and expense items disallowed by the Commission, if any.10

               The Second Informational Filing further requires Mystic to:

               file on or before April 1, 2022 . . . to update the Annual Fixed Revenue
               Requirement, the Maximum Monthly Fixed Cost Payment, and the Fixed
               O& M/Return on Investment component of the Monthly Fuel Cost Charge
               provided for and calculated in accordance with Schedule 3 above with

         for each year of the Term” of the Mystic Agreement. Constellation Mystic Power, LLC,
         Second Informational Filing, Docket No. ER18-1639-000, at 2 (filed Sept. 15, 2022)
         (Transmittal).
               9
                   Mystic Agreement, Schedule 3A, § II.6.A.
               10
                    Id. Schedule 3A, § I.B.2.i.
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                updated projections for all items subject to true-up as specified in Section
                II.A that Owner is estimated and projected to incur to maintain and operate
                the Resource and [Everett Marine] LNG Terminal [(Everett)] during the
                Term based upon information contained in Owner’s books and records. At
                this time, net plant will be updated to include actual capital expenditures
                and depreciation incurred between January 1, 2018 and December 31,
                2021.11

                Schedule 3A of the Mystic Agreement sets forth a process for parties to submit
         both informal and formal challenges to Mystic’s annual informational filings. The
         informational exchange and informal challenge procedures occur prior to Mystic
         submitting its annual informational filing to the Commission by September 15 of each
         year. Pursuant to the terms of the Mystic Agreement, on or before April 1 of each year,
         Mystic is required to provide its annual informational filing to ISO-NE prior to filing at
         the Commission. Interested parties may make reasonable information and document
         requests to Mystic through the informal challenge process. The informal challenges and
         Mystic’s responses are then detailed in the annual informational filing ultimately
         submitted to the Commission.

                 The formal challenge process occurs after Mystic submits its September 15
         informational filing to the Commission. By October 15 of each year, parties must submit
         their formal challenges. As relevant here, Schedule 3A states that:

                In any proceeding initiated by FERC concerning the [Informational] Filing
                or in response to a Formal Challenge, [Mystic] shall bear the burden,
                consistent with section 205 of the [FPA], of proving that (i) it has correctly
                applied the terms of the Methodology consistent with these protocols, and
                (ii) in the case of capital expenditures that are expensed during the Term of
                the [Mystic] Agreement, that the capital expenditure is necessary in order to
                meet the obligations of the [Mystic] Agreement, and that the expenditure is
                reasonably determined to be the least-cost commercially reasonable option
                consistent with Good Utility Practice to meet the obligations of the
                Agreement. Nothing herein is intended to alter the burdens applied by
                FERC with respect to prudence challenges.12

         II.    Filing

             On September 15, 2022, Mystic submitted the Second Informational Filing to the
         Commission, the second in the series of annual informational filings as described above.

                11
                     Id. Schedule 3A, § I.B.2.ii.
                12
                     Id. Schedule 3A, § II.4.G.
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         Mystic characterizes its filing as a “before-the-fact informational posting to substantiate
         the nature of the proposed work to be done, and update projected costs’ associated with
         those projects.”13 Accordingly, Mystic states that its filing is limited to: demonstrating
         that the proposed 2023 CapEx Projects are appropriate; providing updated projections to
         the AFRR, Maximum Monthly Fixed Cost Payment, and Fixed O&M/Return on
         Investment component of the Monthly Fuel Cost Charge; and updating net plant to
         include actual capital expenditures and depreciation for the period between January 1,
         2018 and December 31, 2021. Mystic states that it has complied with all deadlines and
         requirements of the formula rate protocols, and it has made good faith efforts to respond
         to all reasonable information and document requests as well as informal challenges
         within 15 business days.14

         III.   Motion to Hold in Abeyance

                On February 17, 2023, Mystic filed a motion to hold the Formal Challenges to the
         Second Informational Filing in abeyance pending the submission of a settlement that
         Mystic states would resolve all matters set for hearing and settlement related to the First
         Informational Filing.15 Mystic states that the settlement would also impact several
         Formal Challenges to the Second Informational Filing, and requests that the Commission
         hold the Formal Challenges to the Second Informational Filing in abeyance until either
         the date on which the Commission approves the settlement, 30 days after rejecting the
         settlement, or in the event the settlement falls through, 15 days after Mystic informs the
         Commission that it will not be filing the settlement, whichever event happens first.

                 On March 6, 2023, ENECOS filed an answer opposing Mystic’s motion.
         ENECOS states that five of the issues in the ENECOS Formal Challenge to the Second
         Informational Filing do not relate to the First Informational Filing and will not be
         resolved by any settlement to the First Informational Filing. Further, ENECOS states that
         it will not be joining the settlement and that the settlement therefore may not resolve
         those issues in the ENECOS Formal Challenge that do relate to the First Informational
         Filing. ENECOS argues that there is no justification for prolonging the issuance of a




                13
                  Transmittal at 4 (quoting Prepared Supplemental Direct Testimony of Alan C.
         Heintz, Ex. No. MYS-0020 at 4-5 (Jul. 30, 2018)).
                14
                     Id. at 8.
                15
                Mystic Motion to Hold Formal Challenges to the Second Informational Filing in
         Abeyance at 1-2.
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         Commission ruling, as delaying such ruling would prolong the imposition of excess
         charges under the Mystic Agreement.16

         IV.    Settlement

                 On March 15, 2023, Mystic filed a Settlement Agreement and related materials
         (First Informational Filing Settlement) to address the formal challenges to Mystic’s First
         Informational Filing. On August 1, 2023, the Commission approved the First
         Informational Filing Settlement,17 which resolved all issues set for hearing in the First
         Informational Filing Order.18

         V.     Notice of Filing and Responsive Pleadings

                On October 17, 2022, NESCOE filed a formal challenge. On October 18, 2022,
         ENECOS filed an out-of-time formal challenge.19 Notice of the NESCOE Formal
         Challenge was published in the Federal Register, 87 Fed. Reg. 64,784 (Oct. 26, 2022),
         with interventions and protests due on or before November 16, 2022. Notice of the
         ENECOS Formal Challenge was published in the Federal Register, 87 Fed. Reg. 64,472
         (Oct. 25, 2022), with interventions and protests due on or before November 8, 2022. On
         October 20, 2022, the Commission issued an Errata Notice correcting the comment due
         date for the ENECOS Formal Challenge to November 17, 2022.

                On November 16, 2022, Mystic submitted its response to the NESCOE Formal
         Challenge. On November 17, 2022, Mystic submitted its response to the ENECOS
         Formal Challenge (Mystic’s Response). On November 16, 2022, the Massachusetts
         Municipal Wholesale Electric Company and New Hampshire Electric Cooperative Inc.
         (collectively, Public Systems) submitted comments in support of the ENECOS Formal
         Challenge. On December 6, 2022, ENECOS submitted an answer to Mystic’s Response
         to the ENECOS Formal Challenge (ENECOS’ Answer), and on December 22, 2022,




                16
                     ENECOS Answer in Opposition to Motion at 1-8.
                17
                  Constellation Mystic Power, LLC, 184 FERC ¶ 61,070, at P 6 (2023)
         (Settlement Order).
                18
                  See Constellation Mystic Power, LLC, 179 FERC ¶ 61,011 (2022) (First
         Informational Filing Order).
                19
                     See supra note 5.
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         Mystic submitted an answer to ENECOS’ Answer (Mystic’s Answer). On October 20,
         2023, NESCOE withdrew the NESCOE Formal Challenge.20

         VI.   Discussion

               A.       Procedural Matters

                Rule 213(a)(2) of the Commission’s Rules of Practice and Procedure, 18 C.F.R.
         § 385.213(a)(2) (2022), generally prohibits an answer to a protest or an answer unless
         otherwise ordered by the decisional authority. We accept ENECOS’ Answer to Mystic’s
         Response, as well as Mystic’s Answer to ENECOS’ Answer, because they have provided
         information that assisted us in our decision-making process.

               B.       Substantive Matters

                 As discussed below, with regard to ENECOS Formal Challenge Issue 1, we grant
         in part and find that the Second Informational Filing raises issues of material fact that
         cannot be resolved based on the record before us and that are more appropriately
         addressed under hearing and settlement judge procedures, as ordered below. With regard
         to ENECOS Formal Challenge Issue 2, we dismiss in part, grant in part, and find that the
         Second Informational Filing raises issues of material fact that cannot be resolved based
         on the record before us and that are more appropriately addressed under hearing and
         settlement judge procedures, as ordered below. We further dismiss ENECOS Formal
         Challenge Issues 3-5. With regard to ENECOS Formal Challenge Issues 6-7, we dismiss
         in part, grant in part, and find that the Second Informational Filing raises issues of
         material fact that cannot be resolved based on the record before us and that are more
         appropriately addressed under hearing and settlement judge procedures, as ordered
         below. Finally, we dismiss ENECOS Formal Challenge Issue 8.

               C.       ENECOS Formal Challenge

                        1.     ENECOS Formal Challenge Issue 1

                               a.       Pleadings

                In ENECOS Formal Challenge Issue 1, ENECOS argues that Mystic has not
         adequately supported its July 1, 2004 – December 31, 2017 Rate Base in Attachment B,
         Mystic 8&9 Schedule D. ENECOS argues that the majority of these costs appear to be
         operation and maintenance expenses that should have been expensed prior to the term.21

               20
                    See supra note 4.
               21
                    ENECOS Formal Challenge at 10.
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         ENECOS argues that, despite the decision22 of the United States Court of Appeals for the
         District of Columbia Circuit (D.C. Circuit) affirming the Commission’s holding that pre-
         2018 costs are subject to Commission review and approval, Mystic has provided no
         support for Mystic’s claimed July 1, 2004 – December 31, 2017 Rate Base.23 In addition,
         ENECOS contends that Mystic’s accounting is not in compliance with Uniform System
         of Accounts (USofA) standards, contrary to Commission precedent holding that
         generators operating under market-based rates must conform to the USofA when
         changing to cost-of-service rates, and that this lack of compliance with the USofA
         appears to greatly overstate plant in service.24 ENECOS argues that since these costs
         have not been supported, the Commission should reject them and require Mystic to
         remove them from rate base.25

                 In its response to ENECOS Formal Challenge Issue 1, Mystic states that its July 1,
         2004 – December 31, 2017 Rate Base is a fixed input in the filed-rate methodology of the
         Mystic Agreement. Mystic contends that its July 1, 2004 – December 31, 2017 Rate
         Base is a historical number that has not changed, and that Mystic could therefore not
         update these numbers in the Second Informational Filing. Mystic argues that there is a
         significant record in place in which it has adequately explained these figures. Mystic
         states that it complied with the D.C. Circuit’s directive in Constellation to adequately
         support its historic costs by referring to existing support, as these prior costs have not
         changed.26 Mystic argues that ENECOS failed to present sufficient evidence to relitigate
         the issue of its July 1, 2004 – December 31, 2017 Rate Base, and that doing so would set
         a dangerous precedent. Mystic notes that the Commission has previously granted Mystic
         a waiver of the requirement to follow the USofA and later rejected a request that the
         Commission revoke that waiver.27 Mystic requests that the Commission deny this

               22
                  See Constellation Mystic Power, LLC. v. FERC, 45 F.4th 1028 (D.C. Cir. 2022)
         (Constellation).
               23
                    ENECOS Formal Challenge at 11-12.
               24
                 Id. at 12-13 (citing December 2018 Order, 165 FERC ¶ 61,267 at P 65;
         PacifiCorp, 124 FERC ¶ 61,046, at PP 28-31 (2008)).
               25
                    Id. at 14.
               26
                   Mystic Response to ENECOS Formal Challenge at 5, 7 (citing Constellation, 45
         F.4th at 1054).
               27
                  Id. at 11 (citing Sithe Fore River Dev. LLC, Docket Nos. ER01-41-000, et al.
         (Nov. 29, 2000) (delegated order); Constellation Mystic Power, LLC, Docket Nos. ER10-
         2281-000, et al. (Oct. 27, 2010) (delegated order); Exelon Corp., 138 FERC ¶ 61,167, at
         P 132 (2012); Mystic Dev., LLC, 114 FERC ¶ 61,200, at P 61 (2006)).
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         challenge and asks the Commission to find that its July 1, 2004 – December 31, 2017
         Rate Base is just and reasonable.28

                In its answer, ENECOS states that the Commission and the D.C. Circuit have
         previously denied Mystic’s argument that it has adequately supported its July 1, 2004 –
         December 31, 2017 Rate Base costs,29 and further asserts that the Commission’s granting
         Mystic market-based rate waivers of 18 C.F.R. pts. 101 and 141 (2022) does not absolve
         Mystic of the obligation to provide detailed and transparent accounting for its claimed
         costs when returning to a cost-of-service formula rate. ENECOS adds that these waivers
         only strengthen the need for transparent accounting and documentation. ENECOS
         disputes Mystic’s statement that ENECOS has not provided sufficient information to
         challenge these costs, arguing that Mystic has not provided enough evidence to support
         its premise that these costs are just and reasonable in the first instance.30

                 In response, Mystic reiterates that it provided significant evidence to support these
         costs, which ENECOS did not challenge when it had the opportunity to do so during an
         earlier hearing in 2018 and in subsequent compliance filings. Mystic states that it made
         clear in its compliance filings that its July 1, 2004 – December 31, 2017 Rate Base
         figures are hardcoded, and these inputs were accepted by the Commission and not
         protested.31 Further, Mystic reiterates that the Commission granted Mystic a waiver of
         the requirement to follow the USofA,32 and also states that regardless of this waiver, its
         accounting is consistent with the USofA accounting principles. Mystic asks the
         Commission to reject this challenge, or, if the Commission decides to set this challenge




                28
                     Id. at 5-6, 15.
                29
                  ENECOS Answer to Mystic Response at 3, 8 (citing December 2018 Order, 165
         FERC ¶ 61,267 at P 64; Constellation Mystic Power, LLC, 172 FERC ¶ 61,044, at P 86
         (2020) (Second July 2020 Rehearing Order); Constellation Mystic Power, LLC, 172
         FERC ¶ 61,045, at PP 47-48 (2020) (Compliance Order); First Informational Filing
         Order, 179 FERC ¶ 61,011 at PP 24-25; Constellation, 45 F.4th at 1054).
                30
                     Id. at 3-5, 8-14.
                31
                  Mystic Answer to ENECOS Answer at 6 (citing Constellation Mystic Power,
         LLC, Docket No. ER18-1639-009 (July 29, 2021) (delegated order) (July 2021 Delegated
         Order)).
                32
                     See supra note 27.
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         for hearing and settlement, that the Commission narrow the scope of the hearing and
         settlement to avoid duplicative discovery and to exclude speculative requests.33

                                b.     Commission Determination

                Regarding ENECOS Formal Challenge Issue 1, we find that Mystic has not
         adequately supported its July 1, 2004 – December 31, 2017 Rate Base in line with the
         requirements of Schedule 3A and the Methodology of the Mystic Agreement.34
         ENECOS raises issues of material fact that cannot be resolved based on the record before
         us and that are more appropriately addressed in a trial-type, evidentiary hearing and
         settlement judge procedures.35

                We find that Mystic has provided insufficient support for its July 1, 2004 –
         December 31, 2017 Rate Base in Attachment B of the Second Informational Filing. As
         the Commission stated in the First Informational Filing Order,36 Mystic must provide
         support for all projected inputs to the formula rate template at the time of the Second
         Informational Filing.37 We reiterate that Mystic’s historical expenses (including Mystic’s
         July 1, 2004 – December 31, 2017 Rate Base) are subject to challenge in the Second
         Informational Filing, regardless of whether or not there has been a change in
         circumstances. The Commission has consistently stated,38 and the D.C. Circuit has

                33
                     Mystic Answer to ENECOS Answer at 4-7.
                34
                     Mystic Agreement, Schedule 3A, § II.2.A.
                35
                   See, e.g., Delmarva Power & Light Co., 145 FERC ¶ 61,055, at P 60 (2013)
         (“We cannot find on this record that DP&L has supported the propriety of the inclusion
         of certain costs in DP&L’s formula rate. Rather, we find that the Formal Challenges
         raise issues of material fact that cannot be resolved based on the record before us, and are
         more appropriately addressed in a trial-type, evidentiary hearing and settlement judge
         procedures.”).
                36
                     See First Informational Filing Order, 179 FERC ¶ 61,011 at P 25.
                37
                     Mystic Agreement, Schedule 3A, § 1.A.
                38
                   See Second July 2020 Rehearing Order, 172 FERC ¶ 61,044 at P 86 (“We
         disagree with Mystic’s assertion that rate base items as of the end of the test period have
         been fully litigated and the results found just and reasonable.”); Compliance Order, 172
         FERC ¶ 61,045 at P 47 (“We find . . . that the cost inputs underlying Mystic’s gross
         plant-in-service values . . . are appropriately addressed in the true-up process.
         Accordingly, we decline to make findings on them here.”); December 2018 Order, 165
         FERC ¶ 61,267 at P 64.
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         confirmed,39 that the Commission has never ruled on the justness and reasonableness of
         Mystic’s July 1, 2004 – December 31, 2017 Rate Base. The July 2021 Delegated Order
         accepted a compliance filing proposing revisions to the Mystic Agreement that included
         the July 1, 2004 – December 31, 2017 Rate Base figures that Mystic has included and are
         subject to true-up in the Second Informational Filing. The July 2021 Delegated Order
         specified that “acceptance for filing shall not be construed as approval of the referenced
         filing or of any rate.”40 The D.C. Circuit relied on that language from the July 2021
         Delegated Order to hold that, in accepting these figures for filing, the Commission “made
         no determination about whether those rates should be approved as just and reasonable.”41
         We cannot find based on the record before us – which, as it relates to Mystic’s July 1,
         2004 – December 31, 2017 Rate Base, consists of a one-page document that merely lists
         the annual capital expense amounts that Mystic has included in the Second Informational
         Filing in Attachment B, Mystic 8&9 Schedule D42 – that Mystic has provided adequate
         support for its July 1, 2004 – December 31, 2017 Rate Base as required by the terms of
         the Mystic Agreement.43 Therefore, we set this issue for hearing and settlement judge
         procedures.

                        2.    ENECOS Formal Challenge Issue 2

                              a.     Pleadings

               In ENECOS Formal Challenge Issue 2, ENECOS argues that Mystic’s January 1,
         2018 – December 31, 2022 Rate Base in Attachment B, Mystic 8&9 Schedule D and
         Workpaper 3 is not sufficiently supported, does not fulfill the Commission’s rate and

               39
                 See Constellation, 45 F.4th at 1054 (“The Commission . . . has not yet
         determined whether the pre-2018 costs are just and reasonable.”).
               40
                    July 2021 Delegated Order, Docket No. ER18-1639-009, at 2.
               41
                  Constellation, 45 F.4th at 1054 (quoting id.). See also Ala. Power Co. v. FERC,
         993 F.2d 1557, 1565 n.4 (D.C. Cir. 1993) (“[T]he Commission correctly explained that
         the mere acceptance of agreements for filing does not constitute a substantive
         determination that the rate methodology employed is just and reasonable.” (internal
         quotations omitted)).
               42
                  See Prepared Supplemental Direct Testimony of Alan C. Heintz, Ex. No.
         MYS-024 (July 30, 2018) (attached to ENECOS Formal Challenge as Exhibit 3). Mystic
         subsequently updated this list of annual capital expenses on September 13, 2018. See
         Prepared Rebuttal Testimony of Alan C. Heintz, Ex. No. MYS-0038 (Sept. 13, 2018)
         (attached to ENECOS Answer to Mystic Response).
               43
                    Mystic Agreement, Schedule 3A, § II.2.A.
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         accounting principle requirements, and appears to consist of operation and maintenance
         expenses that should not be allocated to ratepayers. ENECOS states that Workpaper 3
         only provides a monthly listing of expenditures by project and does not explain how such
         expenditures qualify as capital expenditures. In addition, ENECOS asserts that Mystic
         has provided insufficient information to verify whether Mystic made proper accounting
         entries that offset and reflect the removal of property units from service, which would
         reduce net plant in service, or whether Mystic has appropriately classified such
         expenses.44

                 In its response, Mystic avers that ENECOS provides no support for its argument
         that the January 1, 2018 – December 31, 2022 Rate Base expenditures are operation and
         maintenance expenses other than by stating that Mystic has not met the Commission’s
         rate and accounting requirements. Mystic states that, per the protocols, it is required to
         update net plant from 2018 to 2021, which it has done.45 Mystic further argues that it has
         booked these expenditures in accordance with USofA accounting principles and that
         ENECOS’ claim that all of Mystic’s expenditures during this period were operations and
         maintenance expenditures is not credible. Finally, Mystic contends that it cannot honor
         ENECOS’ request to make offsetting accounting entries, as doing so is prohibited by the
         protocols in the Mystic Agreement.46

                In its answer, ENECOS argues that the Commission’s granting Mystic market-
         based rate waivers of 18 C.F.R. Parts 101 and 141 does not absolve Mystic of the
         obligation to provide detailed and transparent accounting data for its claimed costs when
         returning to a cost-of-service rate formula, and that these waivers in fact only strengthen
         the need for transparent accounting and documentation. ENECOS reiterates its argument
         that Mystic has provided insufficient evidence to support these costs.47

                                 b.    Commission Determination

                Regarding ENECOS Formal Challenge Issue 2, we find that Mystic has not
         adequately supported its January 1, 2018 – May 31, 2022 Rate Base in line with the
         requirements of Schedule 3A and the Methodology of the Mystic Agreement.48

                44
                     ENECOS Formal Challenge at 14-16.
                45
                Mystic Response to ENECOS Formal Challenge at 16 (citing Mystic
         Agreement, Schedule 3A, § I.B.2.ii).
                46
                     Id. at 16-17.
                47
                     ENECOS Answer to Mystic Response at 4-5, 13-14.
                48
                     Mystic Agreement, Schedule 3A, § II.2.A.
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         ENECOS raises issues of material fact that cannot be resolved based on the record before
         us and that are more appropriately addressed in a trial-type, evidentiary hearing and
         settlement judge procedures.49

                 We find that Mystic has provided insufficient support for its January 1, 2018 –
         May 31, 2022 Rate Base in the Attachment B of the Second Informational Filing. As the
         Commission stated in the First Informational Filing Order,50 Mystic must provide support
         for all projected inputs to the formula rate template at the time of the Second
         Informational Filing.51 We reiterate that Mystic’s historical expenses (including Mystic’s
         January 1, 2018 – May 31, 2022 Rate Base) are subject to challenge in the Second
         Informational Filing, regardless of whether or not there has been a change in
         circumstances. We cannot find based on the record before us that Mystic has provided
         adequate support of its January 1, 2018 – May 31, 2022 Rate Base as required by the
         terms of the Mystic Agreement.52 Therefore, we set this issue for hearing and settlement
         judge procedures.

                However, we find that ENECOS Formal Challenge Issue 2 as it relates to Mystic’s
         June 1, 2022 – December 31, 2022 Rate Base is outside the scope of this proceeding, and
         we therefore dismiss the challenge to Mystic’s June 1, 2022 – December 31, 2022 Rate
         Base. Mystic’s June 1, 2022 – December 31, 2022 Rate Base was the subject of the First
         Informational Filing, was set for hearing and settlement procedures, and was
         subsequently resolved with the Commission’s approval of the First Informational Filing
         Settlement.53



                49
                   See, e.g., Delmarva Power & Light Co., 145 FERC ¶ 61,055 at P 60 (“We
         cannot find on this record that DP&L has supported the propriety of the inclusion of
         certain costs in DP&L’s formula rate. Rather, we find that the Formal Challenges raise
         issues of material fact that cannot be resolved based on the record before us, and are more
         appropriately addressed in a trial-type, evidentiary hearing and settlement judge
         procedures.”).
                50
                     See First Informational Filing Order, 179 FERC ¶ 61,011 at P 25.
                51
                     Mystic Agreement, Schedule 3A, § I.A.
                52
                     Id. Schedule 3A, § II.2.A.
                53
                  First Informational Filing Order, 179 FERC ¶ 61,011 at P 1 (addressing “capital
         expenditures and related costs (2022 CapEx Projects) that Mystic projects it will collect
         as an expense between June 1, 2022 and December 31, 2022” and setting for hearing
         “whether the 2022 CapEx Projects are consistent with the requirements of the Mystic
         Agreement”); Settlement Order, 184 FERC ¶ 61,070 at P 6 & n.7 (“[T]he Settlement has
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                         3.     ENECOS Formal Challenge Issues 3-5

                                a.     Pleadings

                 In ENECOS Formal Challenge Issues 3-5, ENECOS argues that Mystic has not
         met its burden of proving that certain costs under Mystic’s 2022 CapEx Projects54—
         specifically, its Campus Segregation Project and comprehensive rotor inspections—are
         necessary to meet the reliability need of the Mystic Agreement and the least-cost
         commercially reasonable option consistent with Good Utility Practice.55 ENECOS states
         that this issue was set for hearing and settlement proceedings in the First Informational
         Filing Order, but that the Commission stated that it could not rule on these two specific
         projects in the First Informational Filing Order because these were historical costs, which
         can only be challenged in the Second Informational Filing.56 ENECOS suggests its
         challenges to these projects be included within the existing hearing and settlement




         no effect as to Rate Base CapEx for the period January 1, 2018 through May 31, 2022.”).
                54
                  2022 CapEx Projects represent projected capital expenditures during the term of
         the Mystic Agreement in 2022 that are fully reimbursable. Mystic’s projected 2022
         CapEx Projects costs are listed in the Second Informational Filing in Attachment B,
         Mystic 8&9 Schedule D in line 26 (Mystic’s 2022 CapEx Projects) and Attachment B,
         Everett Schedule D in line 9 (Everett’s 2022 CapEx Projects) under the heading “RMR
         CapEx.”
                55
                   ENECOS explains that Issue 3 in ENECOS Formal Challenge is “related to, and
         largely coextensive with” ENECOS Formal Challenge Issues 4 and 5. ENECOS Formal
         Challenge at 8. In ENECOS Formal Challenge Issue 3, ENECOS argues that a portion of
         Mystic’s 2022 CapEx Projects should have been booked as operation and maintenance
         expenses – rather than capital expenses – incurred prior to the effective date of the Mystic
         Agreement. In ENECOS Formal Challenge Issue 4, ENECOS argues that the costs of
         Mystic’s comprehensive rotor inspections in 2020 and 2021 for three of the four
         combustion turbines associated with Mystic 8 & 9 were not prudently incurred. In
         ENECOS Formal Challenge Issue 5, ENECOS argues that the costs of Mystic’s Campus
         Segregation Project – which involved the reconfiguration in 2021 of a retired Mystic Unit
         7 auxiliary boiler to operate as a source of steam cooling for the blades of the Mystic 8 &
         9 combustion turbines – should have been booked as operation and maintenance expenses
         incurred prior to the effective date of the Mystic Agreement. Id. at 7-8, 16-17.
                56
                     Id. at 17 (citing First Informational Filing Order, 179 FERC ¶ 61,011 at PP 24,
         26).
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         proceedings as a matter of efficiency. ENECOS further argues that Mystic appears to
         have shifted project costs between Rate Base and CapEx Projects without explanation.57

                In response, Mystic contends that ENECOS has simply repeated its challenges
         from the First Informational Filing, and that there are no changed facts, as the update to
         the 2022 CapEx Projects will only come in the Third Informational Filing. Mystic agrees
         with ENECOS that ENECOS Formal Challenge Issues 3-5 should be resolved in the
         existing hearing and settlement procedures but contends that it has properly booked these
         projects, that it is not arbitrarily shifting projects between Rate Base and CapEx Projects,
         and that a project is included in Rate Base or in CapEx Projects depending on when it
         went into service. Mystic states that it cannot predict which projects will be necessary
         and when they will be put into service with certainty ahead of time, and that there will be
         changes to these numbers in the true-up process. Mystic argues that the ENECOS
         challenge appears to be an issue with the protocols, not with the Second Informational
         Filing.58

                In its answer, ENECOS contends that all of Mystic’s arguments can be resolved
         by the Commission asserting that ENECOS does not have to reassert its challenge for
         each informational filing in order to preserve its objections to the 2022 CapEx Projects.59

                Mystic responds that ENECOS Formal Challenge Issues 3-5 are placeholder
         challenges. Mystic states that these challenges were set for hearing and settlement
         proceedings in the First Informational Filing Order and that those proceedings are
         ongoing. Mystic asserts that ENECOS has stated that these challenges are placeholders,
         and argues that they should therefore be denied on that basis.60

                                 b.    Commission Determination

                We find that ENECOS Formal Challenge Issues 3-5, as they relate to Mystic’s
         June 1, 2022 through December 31, 2022 projected 2022 CapEx Projects, are outside the
         scope of this proceeding and therefore dismiss them. Mystic submitted these projected
         expenditures in its First Informational Filing, in accordance with the Mystic Agreement
         protocols.61 The Commission set the question of whether the 2022 CapEx Projects were

                57
                     Id. at 16-23.
                58
                     Mystic Response to ENECOS Formal Challenge at 18-20.
                59
                     ENECOS Answer to Mystic Response at 7.
                60
                     Mystic Answer to ENECOS Answer at 2-4.
                61
                     Mystic Agreement, Schedule 3A, § I.B.1.i.
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         adequately supported for hearing and settlement procedures in the First Informational
         Filing Order,62 and they were subsequently resolved with the Commission’s acceptance
         of the First Informational Filing Settlement.63 To the extent that ENECOS Formal
         Challenge Issues 3-5 relate to Mystic’s July 1, 2004 – December 31, 2017 Rate Base
         and/or Mystic’s January 1, 2018 – May 31, 2022 Rate Base,64 which were not set for
         hearing in the First Informational Filing Order or resolved by the First Informational
         Filing Settlement, we are setting those for hearing and settlement judge procedures in this
         order.65

                         4.     ENECOS Formal Challenge Issue 6

                                a.     Pleadings

                 In ENECOS Formal Challenge Issue 6, ENECOS argues that Mystic has not
         fulfilled its obligation under the Mystic Agreement to show that Everett’s November 1,
         2018 – December 31, 2022 Rate Base included in Everett Schedule D and Workpaper 3
         in the populated formula rate serves Mystic and is therefore chargeable to ratepayers.
         Further, ENECOS argues that, from the information that is available, it appears that all of
         Everett’s November 1, 2018 – December 31, 2022 Rate Base should have been
         categorized as maintenance expenses and not charged to ratepayers under the Mystic
         Agreement.66

                In its response, Mystic states that the Commission has held that 91% of Everett’s
         costs should be allocated to Mystic, and that all of these costs are part of the filed rate and
         therefore cannot be changed in this proceeding. Mystic argues that this can only be
         addressed in the remand proceeding, and that this challenge is out of scope here and
         should be dismissed. Further, Mystic argues that its accounting policy is consistent with
         the Commission’s accounting principles and that it has accurately categorized Everett’s
         November 1, 2018 – December 31, 2022 Rate Base projections.67



                62
                     See First Informational Filing Order, 179 FERC ¶ 61,011 at P 26.
                63
                     Settlement Order, 184 FERC ¶ 61,070 at P 6 & n.7.
                64
                     See supra text accompanying note 56.
                65
                     See supra PP 20, 25.
                66
                     ENECOS Formal Challenge at 23-25.
                67
                     Mystic Response to ENECOS Formal Challenge at 20-21.
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                 In its answer to Mystic’s Response, ENECOS argues that the Commission’s
         granting of waiver of 18 C.F.R. Parts 101 and 141 for Mystic does not excuse Mystic
         from providing adequate support for its revenue requirements. Further, ENECOS argues
         that the Commission has made clear that the only Everett costs that can be charged to
         ratepayers through the Mystic Agreement are those associated with providing fuel service
         to Mystic, and that the Commission has not authorized Mystic to charge ratepayers 91%
         of all Everett costs. ENECOS restates that the costs itemized in Workpaper 3 have not
         been shown to be related to providing fuel service to Mystic.68

                In its answer to ENECOS’ Answer, Mystic argues that it has met its burden of
         showing that its projected capital expenditures have been reasonably determined to be the
         least-cost commercially reasonable option to meet the Mystic Agreement obligations, and
         that ENECOS is attempting to add an additional requirement, not in the protocols, that
         Mystic must show that such projects were undertaken to serve Mystic. Nonetheless,
         Mystic argues that the costs that ENECOS has specifically challenged are all related to
         serving Mystic.69

                              b.     Commission Determination

                Regarding ENECOS Formal Challenge Issue 6, we agree with Mystic that there
         are no provisions in the Mystic Agreement that require Mystic to show that Everett costs
         included in the Mystic Agreement have been undertaken to serve Mystic.70 The Mystic
         Agreement requires Mystic to support capital expenditures incurred during the term of
         the Mystic Agreement with a description of the project(s), including project costs and
         alternative projects considered, an explanation of why the capital expenditures are
         necessary to meet the obligations of the Mystic Agreement, and a demonstration that such
         capital expenditures are the least-cost commercially reasonable option consistent with
         Good Utility Good Practice.71 The Mystic Agreement does not include a requirement
         that Mystic demonstrate that capital expenditures incurred at Everett were undertaken to
         serve Mystic.72 Neither Schedule 3A section II, which details the level of support Mystic
         must provide in all Informational Filings, nor Schedule 3A section I.B.2, which details
         the specific support Mystic must provide in the Second Informational Filing, imposes


               68
                    ENECOS Answer to Mystic Response at 14-16.
               69
                    Mystic Answer to ENECOS Answer at 7-8.
               70
                    See Mystic Agreement, Schedule 3A, § II.2.A.
               71
                    Id.
               72
                    Id.
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         such a requirement on Mystic.73 The only Everett-related rate component that is subject
         to true up pursuant to Schedule 3A of the Mystic Agreement is the Everett Fixed
         O&M/Return on Investment, which represents 91% of Everett’s fixed operating costs.74

                We therefore find that ENECOS has not supported its proposition that Mystic is
         under an obligation to show that expenditures associated with Everett’s November 1,
         2018 – December 31, 2022 Rate Base were undertaken to serve Mystic. At issue in this
         proceeding, as relevant to ENECOS Formal Challenge Issue 6, is whether or not the
         Methodology regarding Everett’s Rate Base was properly implemented and inputs were
         adequately supported.75 Therefore, we dismiss this challenge in part, with regard to
         ENECOS’ argument that Mystic has not fulfilled its obligations under the terms of
         Mystic Agreement.

                However, we find that Mystic has provided insufficient support for Everett’s
         November 1, 2018 – May 31, 2022 Rate Base in Attachment B of the Second
         Informational Filing. As outlined in the Mystic Agreement, Everett costs are passed
         through the Mystic Agreement through the Monthly Fuel Supply Cost, which includes
         Fixed O&M/Return on Investment Costs,76 which are trued up in accordance with the
         Methodology. As with Mystic costs included in the Methodology, all Everett costs
         included in the Methodology must be adequately supported and are subject to challenge
         in the Second Informational Filing. We cannot find based on the record before us that
         Mystic provides adequate support for Everett’s November 1, 2018 – May 31, 2022 Rate
         Base as required by the Mystic Agreement.77 Therefore, we set this issue for hearing and
         settlement judge procedures.

                However, we also find that ENECOS Formal Challenge Issue 6 as it relates to
         Everett’s June 1, 2022 – December 31, 2022 Rate Base is outside the scope of this

               73
                    Id.; id. Schedule 3A, § I.B.2.
               74
                  Id. Schedule 3 (“[T]he Fixed O&M/Return on Investment Costs . . . shall be
         equal to 91% of the fixed cost of service of [Everett], as accepted by the Commission.”);
         Constellation Mystic Power, LLC, 182 FERC ¶ 61,200, at P 31 (2023) (Remand Order);
         Constellation Mystic Power, LLC, 185 FERC ¶ 61,016, at P 61 (2023) (Remand
         Rehearing Order).
               75
                  Mystic Agreement, Schedule 3A, § II.4.D. See also id. Schedule 3A, § II.3.B
         (“[I]nformation and document requests shall not otherwise be directed to ascertaining
         whether the Methodology is just and reasonable.”).
               76
                    Id. Schedule 3.
               77
                    Id. Schedule 3A, § II.2.A.
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         proceeding, and therefore dismiss it. Everett’s June 1, 2022 – December 31, 2022 Rate
         Base was the subject of the First Informational Filing, which the Commission set for
         hearing and settlement judge procedures, and it was subsequently resolved with the
         Commission’s approval of the First Informational Filing Settlement.78

                        5.    ENECOS Formal Challenge Issue 7

                              a.    Pleadings

                In ENECOS Formal Challenge Issue 7, ENECOS challenges the classification of
         certain of Everett’s 2022 CapEx Projects costs in the First Informational Filing, arguing
         that such costs should have been characterized as maintenance expenses charged before
         the Mystic Agreement term, and therefore not charged to ratepayers under the Mystic
         Agreement. In addition, ENECOS challenges the inclusion of certain other costs that
         were identified as Everett’s 2022 or 2023 CapEx Projects, arguing that it has not been
         shown that such costs were undertaken to serve Mystic, and ENECOS therefore argues
         that such costs should not be charged to ratepayers under the Mystic Agreement.
         ENECOS states that these costs were identified in a Mystic workpaper that was not filed
         with the Commission.79

                In its response, Mystic argues that the Commission should reject this challenge, as
         the protocols state that the 2022 CapEx Projects costs are to be projected in the First
         Informational Filing and updated with actual costs in the Third Informational Filing but
         are not under review in the Second Informational Filing. Further, Mystic states that the
         project costs that ENECOS argues are maintenance expenses are legitimate capital
         expenditures, and if such expenditures are found to have been incurred prior to the term,
         such costs should be moved into rate base, not entirely excluded from the Mystic
         Agreement. Finally, Mystic argues that it is not under an obligation to show that
         individual Everett capital expenditures covered by the Mystic Agreement were
         undertaken to serve Mystic.80



               78
                   First Informational Filing Order, 179 FERC ¶ 61,011 at P 1 (addressing “capital
         expenditures and related costs (2022 CapEx Projects) that Mystic projects it will collect
         as an expense between June 1, 2022 and December 31, 2022” and setting for hearing
         “whether the 2022 CapEx Projects are consistent with the requirements of the Mystic
         Agreement”); Settlement Order, 184 FERC ¶ 61,070 at P 6 & n.7 (“[T]he Settlement has
         no effect as to Rate Base CapEx for the period January 1, 2018 through May 31, 2022.”).
               79
                    ENECOS Formal Challenge at 25-27.
               80
                    Mystic Response to ENECOS Formal Challenge at 22-23.
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                 In response, ENECOS reiterates that the Commission’s granting of waiver of 18
         C.F.R. Parts 101 and 141 for Mystic does not excuse Mystic from providing adequate
         support for its revenue requirements. Further, ENECOS restates that the costs identified
         in this challenge have not been shown to be related to providing fuel service to Mystic,
         and that some of these costs appear to be for recurring maintenance activities.81

               Mystic responds that it has met its burden of showing that its projected capital
         expenditures have been reasonably determined to be the least-cost commercially
         reasonable option to meet the Mystic Agreement’s obligations. Mystic contends that
         ENECOS is attempting to add an additional requirement that is not in the protocols that
         would require Mystic to show that such projects were undertaken to serve Mystic.
         Mystic also argues that challenges to 2022 CapEx Projects are outside the scope of the
         Second Informational Filing, and that Mystic has provided sufficient support for its 2023
         CapEx Projects by providing Attachment A alongside supplemental project request forms
         provided to ENECOS during discovery and included with its answer to ENECOS Formal
         Challenge.82

                              b.    Commission Determination

                  For the reasons discussed above regarding ENECOS Formal Challenge Issue 6, we
         dismiss ENECOS Formal Challenge Issue 7 in part regarding ENECOS’ argument that
         Mystic has not fulfilled its obligation to show that Everett’s 2022 and 2023 CapEx
         Projects were undertaken to serve Mystic. In addition, we dismiss ENECOS Formal
         Challenge Issue 7 as it relates to Everett’s 2022 CapEx Projects as outside the scope of
         this filing. Everett’s 2022 CapEx Projects were the subject of the First Informational
         Filing, which the Commission set for hearing and settlement judge procedures, and were
         subsequently resolved with the Commission’s approval of the First Informational Filing
         Settlement.83




               81
                    ENECOS Answer to Mystic Response at 14-16.
               82
                    Mystic Answer to ENECOS Answer at 7-10.
               83
                   First Informational Filing Order, 179 FERC ¶ 61,011 at P 1 (addressing “capital
         expenditures and related costs (2022 CapEx Projects) that Mystic projects it will collect
         as an expense between June 1, 2022 and December 31, 2022” and setting for hearing
         “whether the 2022 CapEx Projects are consistent with the requirements of the Mystic
         Agreement”); Settlement Order, 184 FERC ¶ 61,070 at P 6 & n.7 (“[T]he Settlement has
         no effect as to Rate Base CapEx for the period January 1, 2018 through May 31, 2022.”).
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                 However, regarding ENECOS’ argument that Mystic has not adequately supported
         Everett’s projected 2023 CapEx Projects,84 we cannot find based on the record before us
         that Mystic has met its burden of demonstrating that Everett’s projected 2023 CapEx
         Projects meets the standard required by the Mystic Agreement, namely that the capital
         expenditures are: (1) necessary to meet Mystic’s obligations under the Mystic
         Agreement; and (2) the least-cost commercially reasonable option consistent with Good
         Utility Practice.85 Therefore, we set this issue for hearing and settlement judge
         procedures. The hearing should consider whether the support Mystic has provided for
         Everett’s projected 2023 CapEx Projects satisfies these two standards.

                         6.     ENECOS Formal Challenge Issue 8

                                a.     Pleadings

                 In ENECOS Formal Challenge Issue 8, ENECOS argues that the costs of firm
         interstate and intrastate pipeline transportation reservations in Everett Schedule B of the
         populated template should be eliminated from the Mystic Agreement as these payments
         only support the sale of vaporized liquified natural gas (LNG) to parties other than
         Mystic, and therefore do not benefit ratepayers.86 ENECOS contends that, while they
         have also filed a complaint under FPA section 206 seeking the same relief, such relief
         would likely be more comprehensive if corrected on remand, as doing so would allow
         recovery of such costs between the effective date of the Mystic Agreement and a refund
         effective date that the Commission would establish in the complaint.87

                  In its comments in support, Public Systems state that they agree with ENECOS
         that it is unjust and unreasonable to include the costs of pipeline transportation
         reservations in the formula rate because such costs support vaporized LNG sales that




                84
                  We note that, pursuant to the Settlement, “Mystic agrees that it will seek to
         recover costs for all Everett capital projects placed into service in calendar year 2023 as
         ‘2023 Rate Base CapEx,’” rather than as 2023 CapEx Projects. Mystic Agreement,
         Schedule 4, § 2.3.2.
                85
                     Id. Schedule 3A, § II.2.A.
                86
                     ENECOS Formal Challenge at 28.
                87
                   Id. at 28-29. On March 28, 2023, the Commission granted that complaint in
         part, denied it in part, and required further compliance proceedings. Belmont Mun. Light
         Dept. v. Constellation Mystic Power, LLC, 182 FERC ¶ 61,199 (2023).
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         Mystic cannot receive, and that Mystic does not receive credit from revenue resulting
         from such sales.88

                 In its response, Mystic argues that ENECOS is not challenging the inputs to the
         filed rate, but rather is challenging the filed rate itself, which is outside the scope of a
         formal challenge to an Informational Filing.89

                In its answer, ENECOS asserts that the remand grants the Commission authority
         to address inappropriate cost allocations in the Mystic Agreement, but acknowledges that
         the Commission may prefer to act through a complaint proceeding.90

                               b.     Commission Determination

                In ENECOS Formal Challenge Issue 8, ENECOS argues that pipeline
         transportation costs are unjust and unreasonable and should be eliminated from the
         Mystic Agreement. This challenge is outside the scope of this proceeding as ENECOS
         seeks to modify the Methodology in the Mystic Agreement.91 As such, we dismiss
         ENECOS Formal Challenge Issue 8. Further, the issue of pipeline transportation costs
         has been addressed in Belmont Municipal Light Dept. v. Constellation Mystic Power,
         LLC92 in response to ENECOS’ complaint regarding the inclusion of pipeline
         transportation costs in the Mystic Agreement.

         The Commission orders:

                (A) ENECOS Formal Challenge is hereby granted in part, subject to hearing
         and settlement judge procedures, and summarily dismissed in part, as discussed in the
         body of this order.

                (B) Pursuant to the authority contained in and subject to the jurisdiction
         conferred on the Federal Energy Regulatory Commission by section 402(a) of the

                88
                     Public Systems Comments at 1-2.
                89
                     Mystic Response to ENECOS Formal Challenge at 23-24.
                90
                     ENECOS Answer to Mystic Response at 7-8.
                91
                   Mystic Agreement, Schedule 3A, § II.4.I (“No party shall seek to modify the
         Methodology under the Challenge Procedures set forth in these protocols and Filings
         shall not be subject to challenge by anyone for the purpose of modifying the
         Methodology.”).
                92
                     182 FERC ¶ 61,199.
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         Department of Energy Organization Act and the FPA, particularly sections 205 and 206
         thereof, and pursuant to the Commission’s Rules of Practice and Procedure and the
         regulations under the FPA (18 C.F.R. Chapter I), a public hearing shall be held
         concerning whether Mystic has sufficiently supported its July 1, 2004 – December 31,
         2017 Rate Base, its January 1, 2018 – May 31, 2022 Rate Base, Everett’s November 1,
         2018 – May 31, 2022 Rate Base, and Everett’s 2023 CapEx Projects, as required by
         Schedule 3A of the Mystic Agreement, as discussed in the body of this order. However,
         the hearing will be held in abeyance to provide time for settlement judge procedures, as
         discussed in Ordering Paragraphs (C) and (D) below.

                (C) Pursuant to Rule 603 of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.603, the Chief Judge is hereby directed to appoint a settlement judge in
         this proceeding within 45 days of the date of this order. Such settlement judge shall have
         all powers and duties enumerated in Rule 603 and shall convene a settlement conference
         as soon as practicable after the Chief Judge designates the settlement judge. If parties
         decide to request a specific judge, they must make their request to the Chief Judge within
         five days of the date of this order.

                (D) Within 60 days of the appointment of the settlement judge, the settlement
         judge shall file a report with the Commission and the Chief Judge on the status of the
         settlement discussions. Based on this report, the Chief Judge shall provide participants
         with additional time to continue their settlement discussions, if appropriate, or assign this
         case to a presiding judge for a trial-type evidentiary hearing, if appropriate. If settlement
         discussions continue, the settlement judge shall file a report at least every 60 days
         thereafter, informing the Commission and the Chief Judge of participants’ progress
         toward settlement.

                (E)     If settlement judge procedures fail and a trial-type evidentiary hearing is to
         be held, a presiding judge, to be designated by the Chief Judge, shall, within 45 days of
         the date of the presiding judge’s designation, convene a prehearing conference in these
         proceedings in a hearing room of the Commission, 888 First Street, NE, Washington, DC
         20426, or remotely (by telephone or electronically), as appropriate. Such a conference
         shall be held for the purpose of establishing a procedural schedule. The presiding judge
         is authorized to establish procedural dates, and to rule on all motions (except motions to
         dismiss) as provided in the Commission’s Rules of Practice and Procedure.

         By the Commission. Commissioner Danly is not participating.

         (SEAL)


                                                        Kimberly D. Bose,
                                                           Secretary.
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                                      186 FERC ¶ 62,048
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Constellation Mystic Power, LLC                               Docket No. ER18-1639-028

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                             (February 5, 2024)

                Rehearing has been timely requested of the Commission’s order issued on
         December 5, 2023, in this proceeding. Constellation Mystic Power, LLC, 185 FERC
         ¶ 61,170 (2023). In the absence of Commission action on a request for rehearing within
         30 days from the date it is filed, the request for rehearing may be deemed to have been
         denied. 16 U.S.C. § 825l(a); 18 C.F.R. § 385.713 (2023); Allegheny Def. Project v.
         FERC, 964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 16 U.S.C. § 825l(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.


                                                        Debbie-Anne A. Reese,
                                                          Acting Secretary.
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                     Exhibit 3
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